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 1   SO. CAL. EQUAL ACCESS GROUP
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 6   Attorneys for Plaintiff
     LARRY DUNN
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     LARRY DUNN,                                       Case No.: 2:20-cv-00913-RSWL (MRWx)
11
12                Plaintiff,
13         vs.                                         NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
14                                                     WITH PREJUDICE
     PINCHES ANAYA II LLC D/B/A
15   PINCHES TACOS; MOISES CAMPOS,
16   TRUSTEE OF MOISES AND SARA
     CAMPOS LIVING TRUST; and DOES 1
17   through 10,
18
19                Defendants.
20
21         PLEASE TAKE NOTICE that LARRY DUNN
22   (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
23   voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
24   Procedure Rule 41(a)(1) which provides in relevant part:
25
           (a) Voluntary Dismissal.
26
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
27
                         and any applicable federal statute, the plaintiff may dismiss an action
28
                         without a court order by filing:

                                                   1
          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
 Case 2:20-cv-00913-RSWL-MRW Document 24 Filed 07/16/20 Page 2 of 2 Page ID #:84




 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
     Court.
 6
 7   DATED: July 16, 2020 SO. CAL. EQUAL ACCESS GROUP
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 9                                  By:      /s/ Jason J. Kim
10                                        Jason J. Kim, Esq.
                                          Attorneys for Plaintiff
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          NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
